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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
DEMOS P. DEMOPOULOS, et al.,
                                                                 :
                        Plaintiffs,                              :   19-cv-1133 (OTW)
                                                                 :
                     -against-                                   :             ORDER
                                                                 :
F & B FUEL OIL CO. INC., et al.,                                 :
                                                                 :
                        Defendants.                              :
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         ONA T. WANG, United States Magistrate Judge:


         The Court will hold a Status Conference in this matter telephonically on Wednesday,

December 09, 2020 at 12:00 p.m. The dial in information is (866) 390-1828, access code

1582687.


         SO ORDERED.



                                                                     s/ Ona T. Wang
Dated: November 4, 2020                                                         Ona T. Wang
       New York, New York                                              United States Magistrate Judge
